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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


    UNITED STATES OF AMERICA

    v.                                                                          6:13-cr-87-Orl-36TBS

    KIM RIVERS
    _____________________________________________

                                                    ORDER

             This case came on for hearing on August 27, 2013 on Defendant Kim Rivers’

    Motion for Order Compelling Government to Return Seized Property. (Doc. 89). Federal

    Rule of Criminal Procedure 41(g) states that “[a] person aggrieved by an unlawful search

    and seizure of property or by the deprivation of property may move for the property’s

    return” by filing a motion in the district court where the property was seized. The Rule

    also states that “[t]he court must receive evidence on any factual issue necessary to

    decide the motion.” Id. Rule 41(g) provides recourse to individuals aggrieved by the

    unlawful seizure of their property and when the Government unreasonably retains

    lawfully seized property. United States v. Zambrano, 353 Fed.Appx. 227, 228, 2009 WL

    3818757 (11th Cir. 2009).1 “‘[T]he person from whom the property was seized is

    presumed to have a right to its return, and the government must demonstrate that it has a

    legitimate reason to retain the property ‘” United States v. Melquiades, 394 Fed.Appx.

    578, 581, 2010 WL 3314487 (11th Cir. 2010). On a motion to return seized property, the

    Court sits as a court of equity. United States v. Howell, 425 F.3d 971, 974 (11th Cir.

    2005). To invoke Rule 41(g), the owner must show that she had a possessory interest in

         1
         Unpublished Eleventh Circuit opinions are not considered binding precedent but they may be
cited as persuasive authority. CTA11 Rule 36-2.
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   the property seized by the Government and that she comes into court with clean hands.

   United States v. Cooper, 485 Fed.Appx. 411, 414, 2012 WL 3104258 (11th Cir. 2012)

   (unpublished).

          For the reasons stated on the record in open court (which proceeding is

   incorporated by reference in this Order), the motion is GRANTED in part. The

   Government shall return the following items to Defendant:

                 #6--Toshiba laptop computer

                 #15--CD

          The Government has agreed to accept the representation of Defendant’s lawyer

   concerning which of the cell telephones in its possession belong to Defendant’s children.

   Based upon counsel’s representation, the Government will return the children’s cell

   telephones.

           The Government has also agreed to review the Microsoft laptop with blue

   keyboard included in item #24 and return it to Defendant unless the Government believes

   it contains evidence of criminal activity.

          In all other respects, Defendant’s motion is DENIED.

          IT IS SO ORDERED.

          DONE AND ORDERED in Orlando, Florida, on August 27, 2013.




   Copies to all Counsel
